                           IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF DELAWARE


In re:                                                                 Chapter 11

AMYRIS, INC., et al.,                                                  Case No. 23-11131 (TMH)

                                    Debtors.1                          (Jointly Administered)

                                                            Hearing Date: December 20, 2023 at 3:00 p.m. (ET)
                                                       Objection Deadline: December 18, 2023 at 4:00 p.m. (ET)

                        NOTICE OF HEARING ON SALE OF THE DEBTORS’
                        JVN, PIPETTE, ROSE AND STRIPES BRAND ASSETS

          PLEASE TAKE NOTICE that on September 18, 2023, the above-captioned debtors and

debtors in possession (collectively, the “Debtors”) filed a motion [Docket No. 316] with the United

States Bankruptcy Court for the District of Delaware (the “Bankruptcy Court”) seeking, among

other relief, entry of (a) an order approving Bid Procedures for the sale (the “Sale”) of certain of

the Debtors’ assets (collectively, the “Brand Assets”) associated with their Operating Consumer

Brands, and (b) granting certain related relief.

          PLEASE TAKE FURTHER NOTICE that on October 16, 2023, the Bankruptcy Court

entered the Order (A) Approving Bid Procedures for the Sale of the Debtors’ Brand Assets; (B)

Approving Certain Bid Protections In Connection with the Debtors' Entry Into Any Potential

Stalking Horse Agreements; (C) Scheduling the Auction and Sale Hearing; (D) Approving the




1    A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
     proposed claims and noticing agent at https://cases.stretto.com/Amyris. The location of Debtor Amyris Inc.’s
     principal place of business and the Debtors’ service address in these chapter 11 cases is 5885 Hollis Street,
     Suite 100, Emeryville, CA 94608.



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Form and Manner of Notice Thereof; and (E) Granting Related Relief [Docket No. 553] (the “Bid

Procedures Order”).2

          PLEASE TAKE FURTHER NOTICE that on December 14, 2023, the Debtors filed the

Amended Notice of Filing of Successful Bidder and Auction Results for Sale of JVN Brand Assets

[Docket No. 911] (the “JVN Sale Notice”).

          PLEASE TAKE FURTHER NOTICE that on December 14, 2023, the Debtors filed the

Amended Notice of Filing of Successful Bidder and Auction Results for Sale of Pipette Brand

Assets [Docket No. 912] (the “Pipette Sale Notice”).

          PLEASE TAKE FURTHER NOTICE that on December 15, 2023, the Debtors filed the

Notice of Filing of Successful Bidder and Auction Results for Sale of Rose Brand Assets [Docket

No. 924] (the “Rose Sale Notice”).

          PLEASE TAKE FURTHER NOTICE that on December 15, 2023, the Debtors filed the

Notice of Filing of Successful Bidder and Auction Results for Sale of Stripes Brand Assets [Docket

No. 923] (the “Stripes Sale Notice” and together with the JVN Sale Notice, Pipette Sale Notice

and Rose Sale Notice, the “Sale Notices”).

          PLEASE TAKE FURTHER NOTICE that any objections to entry of the relief requested

in the Sale Notices are due on or before December 18, 2023 at 4:00 p.m. (prevailing Eastern

Time) and must be filed with the Court and served on the below proposed counsel for the Debtors.

          PLEASE TAKE FURTHER NOTICE that a hearing to consider the relief requested in

the Sale Notices will be held before the Honorable Thomas M. Horan at the United States

Bankruptcy Court for the District of Delaware, 824 North Market Street, 3rd Floor, Courtroom 7




2    Capitalized terms not defined herein shall have the meanings provided to them in the Bid Procedures Order or the
     applicable Bid Procedures.



SF 4873-6550-6967.1 03703.004                             2
Wilmington, Delaware 19801, on December 20, 2023 at 3:00 p.m. (prevailing Eastern Time)

via Zoom at the following link:

https://debuscourts.zoomgov.com/meeting/register/vJItcemvpjIsHOwdr1ouDQKa3PPgdrWX3J4

          PLEASE TAKE FURTHER NOTICE THAT IF YOU FAIL TO RESPOND IN

ACCORDANCE WITH THIS NOTICE, THE COURT MAY GRANT THE FINAL RELIEF

REQUESTED WITHOUT FURTHER NOTICE OR HEARING.


 Dated: December 15, 2023                  PACHULSKI STANG ZIEHL & JONES LLP
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                                           Debra I. Grassgreen (admitted pro hac vice)
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                                           Counsel to the Debtors and Debtors-in-Possession




SF 4873-6550-6967.1 03703.004             3
